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August 21, 2019

Honorable Vernon S. Broderick
United States District Judge
United States Courthouse

40 Foley Square NY, NY 10601

 

Weiss v. City University of New York, et al.
Docket No: 17 Civ. 3557 (VSB);
Re: Preliminary relief

When ruling on a motion for preliminary injunctive relief, a district court must consider
four factors: (1) the likelihood that plaintiff will prevail on the merits at final hearing; (2) the
extent to which plaintiff is being irreparably harmed by the conduct complained of; (3) the extent
to which defendant will suffer irreparable harm if the preliminary injunction is issued; and (4) the
public interest. Jiffy Lube, 968 F.2d at 374 (citing Hoxworth v. Blinder, Robinson & Ca., 903
F.2d 186, 197-98 (3d Cir.1990)); Opticians, 920 F.2d at 191-92 (citing Bill Blass, Ltd. ¥. SAZ
Corp., 751 F.2d 152, 154 (3d Cir.1984)). (PAPPAN ENTERPRISES, INC., v.HARDEE'S FOOD
SYSTEMS, INC.; MRO Mid-Atlantic Corp., Appellants, v. Louis D. PAPPAN; Panagiota Pappan.
No. 97-3473.May 13, 1998)

1- Plaintiff applied to the MSW graduate program at CUNY Hunter College. Plaintiff
identified as Jewish, has a degree in Jewish Psychology, and has a Jewish name. Defendants
claim that Jews are a religion and they did not ask about religion. Defendants used the interview
to profile applicants and place them in racial categories based on skin color. Plaintiff has white
skin so defendants determined that Plaintiff is “white”. Defendants have submitted a dissertation
written by Nireata Seals, who used her official position for personal gain ( also known as public
corruption), that demonstrates a pattern of illegal and discriminatory admissions process where
all or almost all minority applicants were accepted to the program and that the program has
quotas against white-skinned applicants which violates multiple laws as well as affirmptve

action laws. The court has already determined that plaintiff can prevail on the merits of the case

 
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(granting plaintiff request for pro bono legal assistance) and the defendants can release
admissions applications and other relative data to expedite the discovery process.

2- By not being able to get her education and degree which will lead to a license
is being harmed by not being able to help people and possibly prevent someone from

committing suicide.

3- Defendants mission is to educate all New Yorkers and will not be harmed by
educating an Jewish New Yorker. Defendants further provide scholarships/tuition waive
insurance to many students and will not be harmed by providing the same services to'a

American born citizen.

4- It is in the best interest of the public to ensure that plaintiff gets an education
people as no one (except perhaps defendants and their attorney) wants to see Jewish
jumping off rooftop bars or killing themselves through other means because they are nc
understood and are in pain, something that plaintiff understands and knows about and
them with once she obtains the proper education and license.

The New York Attorney General is not representing defendants in their official
as those claims have already been dismissed. The NYAG continues to represent non-c
and corrupt government employees while hurting American born citizens who are Jew.
and/or have white skin. As previously noted, defendants have engaged in public corrup
fraud, and other federal, state, city, and CUNY violations. The New York Attorney Ge
recently stated that “My office will continue to root out public corruption, uphold the ir
public office, and bring bad actors to justice at every level of government throughout N
and that “no one is above the law”. However, she continues to represent the defendants
state/government employees working at CUNY despite the fact that they have violated

federal, and CUNY laws/policies. It is therefore a conflict of interest for the attorney ¢

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represent a state employee who has violated CUNY, state, city and federal laws as it contradicts
the mission of the NYAG and the statements made by the Attorney General of New York.

The semester is starting on August 29, 2019 and there is no reason why Plant should

not be allowed to continue her education as a matriculated student.

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